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                IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF MARYLAND


DEBORAH LAUFER,
                                     :
          Plaintiffs,                : Case No.: 1:20-cv-2119
v.                                   :
                                     :
PRESTIGE HOSPITALITY GROUP, LLC, :
                                     :
          Defendant.                 :
____________________________________ :

           PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS

      Plaintiff, by and through undersigned counsel, hereby opposes the Motion to

Dismiss for insufficiency of process pursuant to Rule 12(b)(5), and in support of

their opposition state:


1. Plaintiffs have properly named Prestige Hospitality Group, LLC as Defendant to
this Civil Action, and Defendant has not denied same.
2. Defendant was properly served with the Complaints and Summonses in this
matter.
3. Defendant had actual notice of the commencement of the proceedings against
them, and of their duty to defend the allegations contained in the Complaint.
4. Defendants have had an opportunity to defend the allegations contained in the
complaint, and, having failed to avail themselves of that opportunity, entry of default
judgment should be granted against them.




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      WHEREFORE, Defendants' Motion to Dismiss should be denied. Plaintiffs

offer, in support of their opposition, a memorandum of points and authorities filed

contemporaneously herewith.


Date: November 19, 2020
By: /s/ Tristan W. Gillespie
Tristan W. Gillespie

Thomas B. Bacon, P.A.
5150 Cottage Farm Rd.
Johns Creek, GA 30022
404.276.7277
gillespie.tristan@gmail.com




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MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
PLAINTIFFS' OPPOSITION TO DEFENDANTS' MOTION TO DISMISS
      Plaintiff opposes Defendant’s Motion to Dismiss and offers this memorandum

in support of her Opposition to Defendant’s Motion to Dismiss for improper service

pursuant to Rule 12 (b)(5) of the Federal Rules of Civil Procedure.


INTRODUCTION


      Plaintiff Deborah Laufer is a disabled person within the meaning of Title III

of the Americans With Disabilities Act, 42 U.S.C. Sections 12181, et seq. Defendant

owns and operates the Comfort Inn & Suites BWI Airport Baltimore MD located at

6921 Baltimore Annapolis Blvd, Baltimore, MD 21225 (“Subject Hotel”). It

reserves rooms through an online reservations system (“ORS”) and, as such, is

required to comply with the Regulation promulgated at 28 C.F.R. Section

36.302(e)(1)(“Regulation”) by, inter alia, providing the same option for booking

accessible rooms as for its other rooms and by identifying the accessible rooms,

features within those rooms and features at the hotel to inform disabled persons

whether or not those features are truly accessible. Laufer visited Defendant’s ORS

and suffered discrimination because Defendant’s ORS completely failed to comply

with the Regulation in any respect. On July 21, 2020, Laufer filed the instant action

against Defendant for injunctive relief to bring its ORS into compliance with the

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Regulation, and for attorney fees, costs and litigation expenses pursuant to 42 U.S.C.

Sections 12188 and 12205. This action was filed in the United States District Court

for The District of Maryland, No. 1:20-cv-2119-CCB (hereinafter “Original Case”).


         On August 20, 2020, Plaintiff’s process server made their first attempt to serve

the Summons and Complaint upon Defendant’s Registered Agent, Ravi Nichani, at

that agent’s official address1, 14419 Ashleigh Greene Rd., Boyds, MD 20841.

Defendant successfully evaded Plaintiff’s first service of process attempt. (Ex A).

Specifically, the self-proclaimed tenant at that address informed the server that Mr.

Nichani “had moved to Connecticut”. Id. As a result of this information, the process

server then successfully served Defendant at the Subject Hotel on August 31, 2020.

(Ex. B). As indicated in both the Affidavit of Service (Ex. B) and as admitted in

Defendant’s Motion to Dismiss, the individual served was Mr. Imran Shah who is

the General Manager of the Subject Hotel.


         Plaintiffs filed a Motion to Dismiss for Insufficient Process on 10/29/2020

pursuant to Fed. R. Civ. P. 12(b)(5). However, due to Defendant’s efforts to evade

service and their liability in this case, even though they were properly served

pursuant to Rule 4 of the Federal Rules of Civil Procedure and Rule 2-124 of the

Maryland Rules, their motion should be denied.


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 Defendant concedes that this this individual is, in fact, the proper registered agent in their Motion to Dismiss and
that this is his official address of record.
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FACTS


   1. Defendant received a Complaint and Summons in this matter. See Ex. B.

   2. Defendant had actual notice of the commencement of the action against it, and

      of its duty to defend.


ARGUMENT


Defendants' motion is simply an attempt to continue their pattern of evading service

and liability for the claims asserted in Plaintiff’s Complaint. Any “deficiencies” of

service of which Defendant complains is a direct result of the way in which they

purposefully conduct their business. The relief that they seek from such conduct is

unavailable, and the fact that they seek relief from their purposeful conduct is

reprehensible.


      Plaintiffs properly served the named Defendant to this action. Indeed,

Defendant’s motion is prima facia evidence of their actual knowledge of the subject

proceedings, and their duty to defend the allegations contained therein. As a result,

Defendant should be held liable for its actions, and Defendant’s motion should be

denied.




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I. SUFFICIENCY OF SERVICE


      Rule 12(b)(5) of the Federal Rules of Civil Procedure provides a cause of

action for insufficiency of service of process. The requirements for service of

process are set forth in Rule 4 of the Federal Rules of Civil Procedure. Specifically,

Rule 4(h) states that service upon a corporation shall be affected in a judicial district

of the United States in a manner prescribed for individuals by subdivision (e)(1).

Fed.R.Civ.P. 4. Subdivision (e)(1) of Rule 4 provides that service may be affected

upon an individual "pursuant to the law of the state in which the district court is

located, or in which service is affected..." Fed.R.Civ.P. 4.


      Service of process in the State of Maryland is governed by Md. Rule 2-124

which states, in relevant part, "service is made upon an individual by serving the

individual or an agent authorized by appointment or by law to receive service of

process for the individual." Md.R.Civ.P. 2-124. Further, service upon corporations,

general partnerships, limited partnerships, limited liability companies and

unincorporated associations is made by serving the entity's resident agent, officer,

general partner, member, or "any other person expressly or impliedly authorized to

receive service of process." Md.R.Civ.P. 2-124. As a result, Mr. Imran Shah who is

the General Manager of the Subject Hotel, is expressly and impliedly authorized to

receive service of process in accordance with Md. Rule 2-124.


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   In addition, Defendant, by service on its General Manager, had actual notice of

the commencement of proceedings against it, and of its duty to defend. According

to the Fourth Circuit:


             where actual notice of the commencement of the action
             and the duty to defend has been received by the one served,
             the provisions of Rule 4(d)(1) should be liberally
             construed to effectuate service and uphold the jurisdiction
             of the court, thus insuring the opportunity for trial on the
             merits.
Karlsson v. Rabinotwitz, 318 F.2d 666, 668 (4th Cir. 1963) (citations omitted).

Defendant’s actual knowledge of the commencement of these proceedings, and of

its duty to defend constitute effective service of process. As a result, Defendant’s

motion should be denied.


      In their memorandum, Defendant erroneously implies that in order to maintain

a cause of action against them, Plaintiff’s only option was to perfect service upon

the Registered Agent. See Memorandum of Law in Support of Defendants' Motion

to Dismiss. Defendants makes this assertion without providing any legal authority

in support of their position. This is because there is no legal authority to cite.


CONCLUSION
      By admitting in their motion to dismiss that their General Manager was

served, Defendant has admitted that they were properly served with a Summons and

Complaint in this action. Defendants failed to properly challenge this Court's

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jurisdiction based on insufficient service of process. Further, Defendant had actual

notice of the commencement of the proceedings against it, and of its duty to defend.

Indeed, it has defended this action to the extent that defenses are available to it. It is

because Defendant recognizes that default will likely be entered against it that

Defendant is now raising this specious argument. For the foregoing reasons, Plaintiff

has properly served Defendant and there is no dispute as to any material facts

regarding such service, and Defendant’s motion should be denied as a matter of law.


Date: November 19, 2020
                                                       Respectfully submitted,

                                                       By: /s/ Tristan W. Gillespie
                                                       Tristan W. Gillespie

                                                       Thomas B. Bacon, P.A.
                                                       5150 Cottage Farm Rd.
                                                       Johns Creek, GA 30022
                                                       404.276.7277
                                                       gillespie.tristan@gmail.com




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